         Case 4:07-cv-01705 Document 87 Filed on 10/06/11 in TXSD Page 1 of 18



                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


UNITED STATES OF AMERICA                                §
ex rel. LESLIE STEURY                                   §
                                                        §
v.                                                      §       CIVIL ACTION NO. H-07-1705
                                                        §
CARDINAL HEALTH, INC.                                   §
F/K/A ALARIS MEDICAL SYSTEMS, INC.;                     §
CARDINAL HEALTH 303, INC.                               §
F/K/A ALARIS MEDICAL SYSTEMS, INC.;                     §
CARDINAL HEALTH SOLUTIONS, INC.                         §       JURY TRIAL DEMANDED


                           PLAINTIFF’S THIRD AMENDED COMPLAINT

              Plaintiff United States of America ex rel. Leslie Steury files its Third Amended

Complaint against Defendants Cardinal Health, Inc. f/k/a Alaris Medical Systems, Inc.; Cardinal

Health 303, Inc. f/k/a Alaris Medical Systems, Inc.; and Cardinal Health Solutions, Inc.

(collectively, “Cardinal Health”). Steury, the qui tam relator, brings this False Claims Act lawsuit

under 31 U.S.C. §§ 3729-3732 on behalf of the United States.

I.       Parties

         1.        Relator Leslie Steury is a citizen of the United States and a resident of the State of

Texas.

         2.        Defendant Cardinal Health, Inc., formerly known as Alaris Medical Systems, Inc., is

an Ohio corporation. It has been served and appeared.

         3.        Defendant Cardinal Health 303, Inc., formerly known as Alaris Medical Systems,

Inc., is a California corporation. It has been served and appeared.

         4.        Defendant Cardinal Health Solutions, Inc. is a California corporation. It has been

served and appeared.
       Case 4:07-cv-01705 Document 87 Filed on 10/06/11 in TXSD Page 2 of 18



II.     Jurisdiction

        5.      This Court has jurisdiction under 31 U.S.C. § 3730(b)(1) and 31 U.S.C. § 3732

because this is a False Claims Act case brought by a private person in the name of the United States.

III.    Venue

        6.      Venue is proper in this District under 31 U.S.C. § 3730(b)(l) and 31 U.S.C. § 3732(a)

because Cardinal Health is qualified to do business in this District and because it committed acts

proscribed by 31 U.S.C. §§ 3729 in this District.

IV.     Background

        7.      This is a False Claims Act suit related to Cardinal Health’s sale of defective

intravenous (“IV”) infusion pumps to the United States Department of Veterans Affairs (the “VA”).

        A.      The SE Infusion Pump had a defect that made it dangerous to use

        8.      From 1997 to August 2006, Cardinal Health—and its predecessor Alaris Medical

Systems, Inc. (“Alaris”)—sold the Signature Edition Infusion Device (the “SE infusion pump”) to

VA hospitals.1 The SE infusion pump was designed to deliver a wide variety of fluids, including

medicine, over a broad range of infusion rates to patients. The purpose of the device was to regulate

and control the rate at which fluid flowed into patients. It was a programmable box that attached to

IV poles.

        9.      The SE infusion pump had a defect that made it unsafe. The pump had disposable

silicone tubing—called the Accuslide—that the fluids flowed through. The pump’s motor squeezed

the Accuslide in order to control the IV flow rate into the patient. The way that the Accuslide

worked with the pump allowed excessive—and unsafe levels of—air bubbles to collect. These air




1
 Cardinal Health purchased Alaris on July 7, 2004. References to Cardinal Health before that date refer solely to
Alaris.


                                                       2
        Case 4:07-cv-01705 Document 87 Filed on 10/06/11 in TXSD Page 3 of 18



bubbles were then injected into the patient’s IV line. It is potentially deadly for air bubbles to enter

a patient’s veins through an IV.

        10.    The SE infusion pump is a rectangular-shaped electronic device that consists of a

programming panel to control software, as well as two chambers on the left and right side of the

panel

into which the Accuslide slips. The software controls the movement of the motor feet within the

chamber, which massage the tubing within the Accuslide to establish a controlled rate of flow of

intravenous fluid into a patient. The Accuslide is a disposable tubing set, allowing a new tubing

set to be used for each patient.

        11.    The Accuslide, which fits into the main component of the SE infusion pump,

consists of two axial halves, which fit together. Embedded into each half of the Accuslide is one

half of silicone tubing, as if the silicone tubing had been cut in half. Projecting from each half of

the Accuslide is tubing made from polyvinylchloride (“PVC”) that leads either to the patient or

to the bag containing the fluid to be pumped intravenously into the patient. In other words, the

Accuslide is like a box that has been cut in half to display its contents.

        12.    The tubing embedded in the Accuslide is made from silicone, which is a softer

and more permeable piece of tubing than PVC. Silicone is used in order to prevent memory

retention during motor movement when the silicone tubing is exposed to the motor within the

SE infusion pump. In addition, silicone does not degrade over time like PVC. Because of its

permeability, however, the silicone allows air to move into the tubing. In addition, the motor feet

on the pump are round, permitting air to accumulate between the motor feet.

        13.    Because the two pieces of the Accuslide fit together, the silicone tubing

embedded in the Accuslide does not create a perfectly round-in-circumference tube through

which the fluid flows. Instead, there are “square eddy” channels along the inside diameter of the


                                                    3
       Case 4:07-cv-01705 Document 87 Filed on 10/06/11 in TXSD Page 4 of 18



tubing. These “square eddy” channels are formed in the gap between the two axial halves of the

silicone tubing embedded in both sides, front and back, of the Accuslide. The air that permeates

into the silicone tubing and between the round motor foot is then collected in these square

eddies as the fluid is moved along the tube. This causes the trapped air to grow into a large air

bubble that eventually releases and travels down the tubing set to the patient, rather than up the

tubing set and into the intravenous bag.

        14.      The SE infusion pump was the only IV infusion pump on the market at the time that

had a square-eddy design. This square-eddy design caused the SE infusion pump to infuse patients

with air bubbles to a much greater degree than other IV infusion pumps—which did not have the

square-eddy design. This includes other pumps made by Cardinal Health, as well as pumps made

by competitors. While IV infusion pumps without the square-eddy design could, on occasion, allow

small air bubbles to collect and be infused into patients, the amount of air bubbles using the square-

eddy design was much greater. Therefore, the SE infusion pump—with its square-eddy design—

caused air-bubble levels that far exceeded the average, fair, or medium-grade quality infusion pump

on the market. This made the SE infusion pump of less than average, fair, or medium-grade quality

as compared to other similar devices. For example, testing by the end of May 2001 of Cardinal

Health’s Gemini infusion pump2 showed that it did not deliver any air into the patient, while testing

of the SE infusion pump showed that under normal conditions it delivered between 10 ml and 26 ml

of air into the patients. These are dangerous levels of air that could injure or kill patients.

        15.      The SE infusion pump—like most infusion pumps—was equipped with an air-in-line

detectors, which alerts the healthcare professional to the presence of an air bubble in the fluid. The


2
  The performance of the Gemini infusion pump was comparable to other infusion pumps on the market at the time the
SE infusion pump was developed and sold. The performance of the Gemini pump—in general and specifically
regarding air in the lines—was approximately the same as similar pumps manufactured by other companies at the time.
The Gemini infusion pumps represent the type of infusion pumps against which the SE infusion pump would be
compared in the market.


                                                        4
          Case 4:07-cv-01705 Document 87 Filed on 10/06/11 in TXSD Page 5 of 18



air-in-line detector is an infrared sensor that measures air passing through the fluid in the

intravenous tubing moving towards the patient. While the air-in-line detector’s main purpose is to

detect when the intravenous bag runs dry, its second purpose is to detect air bubbles as they pass in

the intravenous tubing. The air-in-line detector is the final effort to detect the air bubble in the fluid

before entering the patient. Air-in-line detectors do not catch all air bubbles, however, so they are

not sufficient protection for patients if the IV infusion pump creates large numbers of air bubbles.

Therefore, given the large volume of air bubbles that the SE infusion pump’s square-eddy design

created, the air-in-line detector was not sufficient protection for patients.3

           16.      The SE infusion pump provided no significant advantage to offset the heightened

risk of air in the line. There was no particular basis for preferring the SE device over similar

devices that would justify accepting the risk of patient injury or death that would result from the air-

in-line problem.

           17.      The SE infusion pumps had a serious defect because the square-eddy design allowed

excessive air to enter the intravenous line and go into the patient. Every SE infusion pump

contained this defect, because it was a defect based on the square-eddy design, as opposed to a

manufacturing defect that would only appear in some units. Serious health dangers—including

death and serious injury—can occur when air enters a patient’s bloodstream.

           B.       Cardinal Health knew about the dangerous defect

           18.      From March 18, 1996, until September 28, 2001, Steury worked for Cardinal Health4

as an Account Consultant marketing medical devices, including the SE infusion pump, to VA




3
  Steury is not alleging that the SE infusion pump’s air-in-line detector was defective. The SE infusion pump’s air-in-
line detector was of the same quality as the air-in-line detectors on the average infusion pumps. Instead, Steury is
alleging that the square-eddy defect in the SE infusion pump created such a large quantity of air bubbles that it
overwhelmed the air-in-line detector.
4
    As discussed above, Cardinal Health was known as Alaris at this time.


                                                            5
       Case 4:07-cv-01705 Document 87 Filed on 10/06/11 in TXSD Page 6 of 18



hospitals (as well as other hospitals). In 1997, Steury began working for Cardinal Health in the

Cleveland, Ohio area.

        19.      In her capacity as a Cardinal Health Account Consultant, Steury learned about the

SE infusion pump’s dangerous square-eddy/air-in-line defect. And, in that same capacity, Steury

learned about Cardinal Health’s knowledge of the defect.

        20.      In November 2000, a doctor warned Cardinal Health employees that the SE infusion

pump had injected air into his patient’s IV line. Specifically, Dr. Mark DiLuciano, a pediatric

anesthesiologist at Children’s Hospital of Akron, Ohio, told Cardinal Health Manager of Clinical

Consultants Susan Springman about this event.

        21.      In May 2001, a nurse at Children’s Hospital of Akron, Ohio told Steury that a baby

had died when the SE infusion pump injected air into her IV line. Steury immediately told Cardinal

Health’s management about the death.6 Cardinal Health’s management responded by denying that

air in the line caused the baby’s death.


6
  Steury told, at least, Cardinal Health Ohio Valley Area Manager John Snow, Cardinal Health Eastern Director of Sales
Joe Vollero, Cardinal Health National Accounts Manager Cathy Larson, Cardinal Health Manager of Clinical
Consultants Susan Springman, Cardinal Health Manager of Field Support Services Marianne Gill, Cardinal Health Ohio
Valley Region Clinical Consultant Tonya Vick, and Cardinal Health Director of Medication Management Systems Tim
Vanderveen. As Cardinal Health Ohio Valley Area Manager, John Snow was responsible for sales and implementation
of all Cardinal Health products in a multi-state region that included at least Ohio, Indiana, West Virginia, and
Pennsylvania. He supervised at least five sales people. As Cardinal Health Eastern Director of Sales, Joe Vollero
supervised all Eastern Region area managers, including Snow. The country was divided into regions, with states east of
the Mississippi River being in the Eastern Region. This was a senior executive management position with Cardinal
Health. As Cardinal Health Manager of Clinical Consultants, Susan Springman was in charge of all Cardinal Health
nurses. Those nurses provided education, training, and implementation of Cardinal Health products (including the SE
infusion pump) for hospitals. As Cardinal Health Manager of Field Support Services, Marianne Gill was a liaison
between Cardinal Health corporate headquarters and Cardinal Health’s nurses in the field. As Cardinal Health Ohio
Valley Region Clinical Consultant, Tonya Vick was a nurse who provided education, training, and implementation of
Cardinal Health products (including the SE infusion pump) for hospitals in Cardinal Health’s Ohio Valley Region. As
Cardinal Health Director of Medication Management Systems, Tim Vanderveen—who was a pharmacist with a
doctorate degree—acted as a liaison between Cardinal Health’s engineering and research departments and its customers
regarding Cardinal Health products, including the SE infusion pump.




                                                          6
          Case 4:07-cv-01705 Document 87 Filed on 10/06/11 in TXSD Page 7 of 18



           22.      In late May 2001, Cardinal Health management had determined that the SE infusion

pump’s square-eddy design was causing the excess air in the lines. 8 At a meeting that Steury

attended in late May 2001, Cardinal Health Director of Medication Management Systems Tim

Vanderveen drew a diagram showing the square-eddy design and explained that it was causing the

excess air in the lines. Also present at that meeting were Cardinal Health Ohio Valley Area

Manager John Snow, Cardinal Health Eastern Director of Sales Joe Vollero, Cardinal Health

Manager of Field Support Services Marianne Gill, and Cardinal Health Director of Regulatory

Affairs Bill Murphy.

           23.      In June 2001, Cardinal Health Ohio Valley Area Manager John Snow told Steury that

Cardinal Health had temporarily stopped shipping the SE infusion pump while it reviewed the

problem. Snow told Steury at that time that there should be an answer within three months.

Cardinal Health continued to market the pump during the review period, however. During the

three-month review period, Cardinal Health continued to receive additional reports of air-in-line

problems with the SE infusion pump.

           24.      On June 26, 2001, Cardinal Health Director of Medication Management Systems

Tim Vanderveen sent an email discussing his visit to Children’s Hospital of Akron, Ohio—the

hospital where the baby had died. Vanderveen said that “[t]he weekend was ‘hell’ from an air




8
 Specifically, Plaintiff was aware that at least Cardinal Health Ohio Valley Area Manager John Snow, Eastern Director
of Sales Joe Vollero, National Accounts Manager Cathy Larson, Cardinal Health Manager of Clinical Consultants
Susan Springman, Manager of Field Support Services Marianne Gill, Ohio Valley Region Clinical Consultant Tonya
Vick, and Director of Medication Management Systems Tim Vanderveen knew about the defect and the danger it posed.
10
     See Ex. C to First Amended Petition (Doc. 23).




                                                         7
       Case 4:07-cv-01705 Document 87 Filed on 10/06/11 in TXSD Page 8 of 18



standpoint.”10 He made that statement in reference to the excess air in the lines caused by the

square-eddy design.

        25.      In September 2001—at the end of the three-month review period—Cardinal Health

fired Steury. Days after it fired her, Cardinal Health sold 500 SE infusion pumps to the VA hospital

in Cleveland. At that time, the fact that the SE infusion pump had the square-eddy design, which

caused dangerous levels of air in the IV lines, was known to at least the following Cardinal Health

employees: Cardinal Health Ohio Valley Area Manager John Snow, Cardinal Health Eastern

Director of Sales Joe Vollero, Cardinal Health National Accounts Manager Cathy Larson, Cardinal

Health Manager of Clinical Consultants Susan Springman, Cardinal Health Manager of Field

Support Services Marianne Gill, Cardinal Health Ohio Valley Region Clinical Consultant Tonya

Vick, Cardinal Health Account Executive Andrew D’Acenzo, Cardinal Health Nurse Tammy

Saunders, and Cardinal Health Director of Medication Management Systems Tim Vanderveen. All

of those Cardinal Health employees appreciated the danger that the SE infusion pump posed. Those

Cardinal Health employees knew that the SE infusion pump was, because of the air-in-line defect,

not of at least average, fair, or medium-grade quality and was not comparable to other similar

infusion pumps on the market. Those Cardinal Health employees knew that if the VA knew about

the air-in-line defect caused by the square-eddy design, the VA would not accept—nor pay for—the

SE infusion pumps.

        26.      Cardinal Health continued to sell the SE infusion pump to the VA, and others, for

years after it learned of the air-in-line defect. In fact, Cardinal Health sold the SE infusion pump

until 2006. And it was another defect—not the air-in-line defect—that caused Cardinal Health to

finally quit selling the SE infusion pump.11

11
   In August 2006, the FDA recalled the SE infusion pumps for issues related to a design defect that cause overinfusion
of     medicine      into   the      patients’    bloodstream.           See      http://www.fda.gov/MedicalDevices/
Safety/RecallsCorrectionsRemovals/ListofRecalls/ucm062837.htm.


                                                          8
        Case 4:07-cv-01705 Document 87 Filed on 10/06/11 in TXSD Page 9 of 18



         C.       Cardinal Health sold the defective SE infusion pumps to the VA without
                  disclosing the defects, and the VA testing did not identify the defects

         27.      Cardinal Health had a contract with the VA regarding the purchase of the SE

infusion pumps. Each particular order of SE infusion pumps was done through a purchase order

that was pursuant to the general contract. Cardinal Health sold SE infusion pumps to the VA

Hospitals throughout the country—including VA hospitals in Houston, Texas and Cleveland,

Ohio—under this contract.12

         28.      In this contract that Cardinal Health had with the VA regarding the SE infusion

pumps, Cardinal Health expressly warranted that the SE infusion pumps were “merchantable.” This

was a standard condition in Cardinal Health’s contracts with the VA.

         29.      On October 5, 2001, Cardinal Health sold 500 SE infusion pumps to the VA

Cleveland Hospital through a purchase order under the contract. By this date, Cardinal Health was

aware that the SE infusion pumps had the dangerous defect described above.13 Because of the

defect, the SE infusion pumps were not merchantable—that is, they were not reasonably fit for the

ordinary purposes for which such items are used. Cardinal Health knew that the pumps injected

more air than comparable pumps available in the market, and that the air-in-line defect rendered the

product dangerous. Cardinal Health, therefore, knew the SE infusion pump was not merchantable,

yet sold them to the VA anyway.

         30.      The VA was not aware of the SE infusion pump’s air-in-line defect or its square-

eddy design. The VA did limited testing on the SE infusion pumps before accepting them and

12
  Cardinal Health was by far the largest supplier of infusion pumps to the VA, and the fact that Cardinal Health sold the
SE infusion pump to the VA was well known within Cardinal Health. Every Cardinal Health executive involved with
the SE infusion pump knew that the company was selling that pump to the VA.
13
  As described above, Cardinal Health knew this based on the knowledge of at least the following Cardinal Health
employees: Cardinal Health Ohio Valley Area Manager John Snow, Cardinal Health Eastern Director of Sales Joe
Vollero, Cardinal Health National Accounts Manager Cathy Larson, Cardinal Health Manager of Clinical Consultants
Susan Springman, Cardinal Health Manager of Field Support Services Marianne Gill, Cardinal Health Ohio Valley
Region Clinical Consultant Tonya Vick, Cardinal Health Account Executive Andrew D’Acenzo, Cardinal Health Nurse
Tammy Saunders, and Cardinal Health Director of Medication Management Systems Tim Vanderveen.


                                                           9
           Case 4:07-cv-01705 Document 87 Filed on 10/06/11 in TXSD Page 10 of 18



providing them to the veterans it was treating. The VA relied on Cardinal Health’s testing that the

SE infusion pumps—as a group—were safe and performed as represented. The VA’s testing

focused on making sure that the individual infusion pumps that it bought were not broken. The

VA’s testing was limited to making sure that each unit turned on and that its air-in-line detector

worked. The VA did not do any testing to determine whether the SE infusion pumps would

introduce unacceptably large quantities of air into the patient. The VA’s testing was not designed to

find—and would not have found—the additional air in the line that the SE infusion pump’s square-

eddy defect caused. Therefore, unless Cardinal Health had told the VA that its SE infusion pump

caused the air-in-line problems, the VA’s testing would not have uncovered it. Cardinal Health did

not tell the VA about the problem.

            D.      Cardinal Health was aware that the SE infusion pumps were not merchantable,
                    but sold them to the VA anyway

            31.     Cardinal Health’s contract with the VA specifically required that the SE infusion

pumps be merchantable.

            32.     To be merchantable, goods must meet several requirements. Failure to comply with

any one of these requirements makes goods unmerchantable. These requirements are:

                    a.       The product must be reasonably fit for the ordinary purposes
                             for which such item is used;14

                    b.       The product must be of at least average, fair, or medium-grade
                             quality and must be comparable in quality to those that will
                             pass without objection in the trade or market for items of the
                             same description;15 and

                    c.       The product cannot be unreasonably dangerous.16

14
     48 C.F.R. § 12.404(a)(1).
15
     Id.
16
   See Gumbs v. Int’l Harvester, Inc., 718 F.2d 88, 95 (3d Cir. 1983) (“we can conceive of no theory under which the
allegedly defective [product] could have been defective and unfit for its ordinary purposes under [U.C.C.] section 2-314
but not also defective and unreasonably dangerous within [Restatement of Torts (Second)] section 402A”); 3 LARRY
LAWRENCE, ANDERSON ON THE UNIFORM COMMERCIAL CODE § 2-314-720 (3d ed.); see also U.C.C. § 2-314(2)
(“Goods to be merchantable must be at least such as: (a) pass without objection in the trade under the contract

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           Case 4:07-cv-01705 Document 87 Filed on 10/06/11 in TXSD Page 11 of 18




            33.     The SE infusion pump was not merchantable when it was sold to the VA because:

                    a.       The SE infusion pump was not reasonably fit for the ordinary
                             purposes for which such item is used.17 The ordinary purpose
                             of an infusion pump is to infuse medicine into a patient through
                             an IV line without endangering the patient’s health or life. The
                             SE infusion pump’s square-eddy design caused it to infuse
                             dangerous amounts of air bubbles into patients. This rendered
                             the SE infusion pump not reasonably fit to infuse medicine into
                             an IV line without endangering the patient’s health or life.

                    b.       The SE infusion pump was not of at least average, fair, or
                             medium-grade quality, and was not comparable in quality to
                             those that will pass without objection in the trade or market for
                             items of the same description. 18 The other infusion pumps on
                             the market did not have the square-eddy design that infused
                             dangerous amounts of air bubbles into patients’ veins. This
                             includes the other infusion pumps manufactured by Cardinal
                             Health, as well as the other infusion pumps manufactured by
                             competitors. The average, fair, or medium-grade quality
                             infusion pump on the market may have caused the occasional
                             air bubble to be created and go into the patient, but it was not
                             of a quantity sufficient to be highly dangerous. If Cardinal
                             Health had disclosed to the market the facts that it knew about
                             its square-eddy design causing large amounts of air bubbles to
                             be infused into the patient, then it would not have passed
                             without objection in the trade or market for IV infusion pumps.
                             Instead, had a hospital—the average purchaser of IV infusion
                             pumps—known of the square-eddy design and its
                             consequences, it would have refused to purchase the SE
                             infusion pump. That is because an average hospital would not
                             have wanted to buy an infusion pump that greatly increased the
                             chance that dangerous levels of air would be injected into its
                             patients, potentially killing them. The average hospital would
                             have chosen to buy the infusion pump that did not contain a
                             defect inherent in every pump that could kill its patients.




description; and (b) in the case of fungible goods, are of fair average quality within the description; and (c) are fit for the
ordinary purposes for which such goods of that description are used; and (d) run, within the variations permitted by the
agreement, of even kind, quality and quantity within each unit and among all units involved; and (e) are adequately
contained, packaged, and labeled as the agreement may require; and (f) conform to the promise or affirmations of fact
made on the container or label if any.”).
17
     48 C.F.R. § 12.404(a)(1).
18
     Id.


                                                             11
       Case 4:07-cv-01705 Document 87 Filed on 10/06/11 in TXSD Page 12 of 18



                 c.       The SE infusion pump was unreasonably dangerously defective
                          due to its square-eddy design which caused it to infuse
                          dangerous amounts of air bubbles into the patients.19

Although all three conditions were present, each condition independently made the

SE infusion pump unmerchantable.

        34.      As of October 1, 2001, at least the following Cardinal Health employees were aware

that the SE infusion pumps that Cardinal Health was selling to the VA were not merchantable

because of the square-eddy design that caused excessive air in the line: Cardinal Health Ohio

Valley Area Manager John Snow, Cardinal Health Eastern Director of Sales Joe Vollero, Cardinal

Health National Accounts Manager Cathy Larson, Cardinal Health Manager of Clinical Consultants

Susan Springman, Cardinal Health Manager of Field Support Services Marianne Gill, Cardinal

Health Ohio Valley Region Clinical Consultant Tonya Vick, Cardinal Health Account Executive

Andrew D’Acenzo, Cardinal Health Nurse Tammy Saunders, and Cardinal Health Director of

Medication Management Systems Tim Vanderveen.

        35.      As of October 1, 2001, at least the following Cardinal Health employees were aware

that Cardinal Health was selling the 500 SE infusion pumps to the VA Cleveland Hospital that were

sold on October 5, 2001: Cardinal Health Ohio Valley Area Manager John Snow, Cardinal Health

Eastern Director of Sales Joe Vollero, Cardinal Health National Accounts Manager Cathy Larson,

Cardinal Health Manager of Clinical Consultants Susan Springman, Cardinal Health Ohio Valley

Region Clinical Consultant Tonya Vick, and Cardinal Health Director of Medication Management

Systems Tim Vanderveen. These Cardinal Health employees were aware that the VA required that


        19
            The Federal regulations’ definition of merchantable goods is, essentially, the same as the Uniform
Commercial Code definition. See U.C.C. § 2-314(2). A product that is defective and unreasonably dangerous under
products-liability law is necessarily unmerchantable. See Gumbs v. Int’l Harvester, Inc., 718 F.2d 88, 95 (3d Cir. 1983)
(“we can conceive of no theory under which the allegedly defective [product] could have been defective and unfit for its
ordinary purposes under [U.C.C.] section 2-314 but not also defective and unreasonably dangerous within
[RESTATEMENT OF TORTS (SECOND)] section 402A”); 3 LARRY LAWRENCE, ANDERSON ON THE UNIFORM COMMERCIAL
CODE § 2-314-720 (3d ed.).


                                                          12
         Case 4:07-cv-01705 Document 87 Filed on 10/06/11 in TXSD Page 13 of 18



the SE infusion pumps that it bought be merchantable. These Cardinal Health employees were

aware that SE infusion pump was not merchantable because the square-eddy design caused

dangerously excessive levels of air in the line.

           36.      The SE infusion pump was worthless to the VA because—when used as intended—

there was a high risk that it could kill patients due to its air-in-line defect. An infusion pump that

kills patients when used as intended is of no value to the hospital that is using it. Instead, the

infusion pump actually has a negative value because it will create tort liability for the hospital,

given its defective condition.

V.         Cause of Action—Violation of the False Claims Act

           37.      Steury adopts by reference all previous paragraphs as if set out fully here.

           38.      Cardinal Health violated the False Claims Act because it “knowingly present[ed], or

cause[d] to be presented, a false or fraudulent claim for payment or approval” and/or it “knowingly

ma[d]e, use[d], or cause[d] to be ma[d]e or use[d], a false record or statement material to a false or

fraudulent claim.”20

           39.      The elements of a False Claims Act violation are met here because:

                         •    There was a false statement or fraudulent course of conduct;

                         •    Made or carried out with the requisite scienter;

                         •    That was material; and

                         •    That was presented to the government.21

           40.      The required scienter is met because Cardinal Health had actual knowledge of the

falsity—no specific intent to defraud the government is required.22 Cardinal Health’s statements


20
   31 U.S.C. § 3729(a)(1) (“any person who – (A) knowingly presents, or causes to be presented, a false or fraudulent
claim for payment or approval; (B) knowingly makes, uses, or causes to be made or used, a false record or statement
material to a false or fraudulent claim; … is liable to the United States Government ….”).
21
     United States ex rel. Steury v. Cardinal Health, Inc., 625 F.3d 262, 267 (5th Cir. 2010).


                                                              13
           Case 4:07-cv-01705 Document 87 Filed on 10/06/11 in TXSD Page 14 of 18



were material because they had “a natural tendency to influence, or be capable of influencing, the

payment or receipt of money or property.”23

            41.     While Cardinal Health may not have made an express false statement to the VA

when submitting its claim for payment, it is still liable under the False Claims Act because it

implicitly certified that it had complied with the relevant contractual requirements.24 Specifically,

Cardinal Health’s contract with the VA required it to implicitly certify that the SE infusion pumps

were merchantable.25

            42.     The requirement that the SE infusion pumps be merchantable was a material

contractual requirement. The VA would not have accepted infusion pumps that were not

merchantable—especially infusion pumps that were not merchantable because they injected

excessive air into the patients’ veins at levels that can kill the patients. Moreover, the VA would

not have paid for infusion pumps that it rejected.

            43.     Every time Cardinal Health delivered an SE infusion pump to the VA and sought

payment for the pump, it had to implicitly—and falsely—certify that the SE infusion pump was

merchantable. Otherwise, the VA would not accept the SE infusion pump, and would not pay for it.

Cardinal Health knew that the SE infusion pumps were not merchantable for the reasons described

in this Complaint.            By making the implied representation that the SE infusion pump was

merchantable, Cardinal Health expected to receive payment from the public treasury for the SE

infusion pumps that were not merchantable.




22
     Id.
23
     Id.
24
  United States v. Science Applications Int’l Corp., 626 F.3d 1257, 1269 (D.C. Cir. 2010); United States ex rel.
Lemmon v. Envirocare of Utah, Inc., 614 F.3d 1163, 1169 (10th Cir. 2010); United States ex rel. Augustine v. Century
Health Servs., Inc., 289 F.3d 409, 415 (6th Cir. 2002).
25
     See Science Applications Int’l Corp., 626 F.3d at 1269); Envirocare of Utah, Inc., 614 F.3d at 1169 .


                                                             14
           Case 4:07-cv-01705 Document 87 Filed on 10/06/11 in TXSD Page 15 of 18



            44.     Because of the SE infusion pumps’ air-in-line defect described above, these implied

certifications that Cardinal Health made were false. And Cardinal Health knew they were false

because it knew about the SE infusion pumps’ air-in-line defect described above. The VA did not

know that the SE infusion pumps had the air-in-line defect and that they were not merchantable.

            45.     Cardinal Health’s implied certifications that the SE infusion pumps were

merchantable—when, in fact, they were defective and dangerous—had “a natural tendency to

influence, or be capable of influencing, the payment or receipt of money or property.”26 This is true

for at least two reasons:

                    a.        The VA would not have bought the SE infusion pumps if
                              Cardinal Health had refused to include the warranty of
                              merchantability in the contract;27 and

                    b.        Under the Federal Acquisition Regulations—which apply to
                              federal purchase contracts throughout the government and to
                              the VA’s purchase of the SE infusion pumps—payment is
                              expressly conditioned on the goods being accepted by the
                              government.28 The government’s acceptance is expressly
                              conditioned on the goods “conforming in all respects to
                              contract requirements.”29 Under the Federal Acquisition
                              Regulations, pumps that are not merchantable do not comply
                              with the contract, so they should be rejected. If Cardinal
                              Health had disclosed that its pumps were not merchantable, the
                              VA would not have accepted the pumps—and, therefore, not
                              paid for the pumps—until the defect was corrected and they
                              were merchantable There are only limited exceptions to the
                              VA’s ability to accept and pay for goods that do not comply
                              with the contract’s requirements. For example, “[i]f the
                              nonconformance is minor,” the VA can choose to accept and
                              pay for the goods.30 And an agency can accept nonconforming
                              goods when there is an exigent circumstance that justifies


26
     Steury, 2010 WL 4276073, *3.
27
     Id.
28
     Steury, 625 F.3d at 269 (citing 48 C.F.R. § 55.212-4(i)).
29
  48 C.F.R. § 46.407(a) (“The contracting officer should reject supplies or services not conforming in all respects to
contract requirements.”) (internal citation omitted).
30
     48 C.F.R. § 46.407(d).


                                                                 15
           Case 4:07-cv-01705 Document 87 Filed on 10/06/11 in TXSD Page 16 of 18



                              accepting defective goods.31 But the agency must expressly
                              make a determination that the circumstances justify taking the
                              goods it knows are defective.32 Cardinal Health’s sale of the
                              SE infusion pumps did not involve circumstances where the
                              government would have paid even if Cardinal Health had told
                              the truth about its defective pumps, instead of falsely certifying
                              that they were merchantable. Instead, if Cardinal Health had
                              disclosed that the pumps were not merchantable, then—under
                              the Federal Acquisition Regulations—the VA would have
                              withheld its acceptance, thus keeping Cardinal Health from
                              being paid. The defect in the pumps was not a “minor”
                              nonconformance that the VA could waive. And because this
                              was a routine purchase of standard medical equipment, the VA
                              had no basis on which to hold that exigent circumstances
                              allowed it to accept nonconforming goods.33 The pumps might
                              have later been accepted if Cardinal Health were able to fix the
                              defect or provide non-defective pumps that were merchantable.
                              But Cardinal Health would not have been paid on the pumps in
                              the condition that they were supplied.

VI.         Prayer

            Steury prays that this Court enter a judgment against Cardinal Health for the following:

            a.       Damages that the government sustained by Cardinal Health’s actions;34

            b.       Treble damages;

            c.       Civil penalties, as authorized by law;

            d.       Costs of court;

            e.       Prejudgment and postjudgment interest at the maximum rate allowed by law;

            f.       Attorneys’ fees, to the extent authorized by law; and

            g.       All other relief, in law or in equity, to which Steury or the United States is entitled.




31
     48 C.F.R. § 46.407(c).
32
     Id.
33
     See 48 C.F.R. § 46.407(c).
34
     Steury is suing regarding all sales of SE infusion pumps to the VA from October 5, 2001 on.


                                                            16
     Case 4:07-cv-01705 Document 87 Filed on 10/06/11 in TXSD Page 17 of 18



                                    Respectfully submitted,

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October 6, 2011




                                       17
     Case 4:07-cv-01705 Document 87 Filed on 10/06/11 in TXSD Page 18 of 18



                                    CERTIFICATE OF SERVICE

        I hereby certify that I caused a true and correct copy of the foregoing to be served on all
parties of record through this Court’s CM/ECF system on October 6, 2011.

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                                            /s/ David George
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                                                18
